Case 1:17-cr-00115-CBA Document 121 Filed 06/01/21 Page 1 of 3 PageID #: 774

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                         Edgar Veytia, #60875-298
                                    Marion CMU                   JUN 0 1 2021
                                  P.O. Box 1000
                                 Marion IL 62959
                                  May 18, 2021             PRO SE OFFICE

Mr. Anthony Mancuso, Court Reporter
United States District Court
225 Cadman Plaza East
Brooklyn NY 11201

RE:    United States v. Edgar Veytia
       Case #CR-17-00115
       Change of Plea Hearing 1/4/2019 before Judge Amon
Dear Mr. Mancuso:


     I had requested from the Clerk of the United States District Court For
the Eastern District of New York a copy of the transcript of my change of plea
held on 1/4/2019 before Judge Carol Bagley Amon. A copy of the Clerk's reply
dated February 24, 2021, is enclosed. The reply states that my request was
forwarded to you because you were the Court Reporter for the hearing. I have
been waiting to hear from you but I have not heard from you, so I am writing to
you now to ask you for what I believe is the second time for a copy of the above
referenced transcript.

     Contrary to what the Clerk said in his reply, I believe the hearing has
already been transcribed because I have a recollection of having seen it before.
However, if you cannot locate the transcript, then I have to ask you to please
transcribe the hearing for me.

      Please send me an estimate of how many pages you expect the transcript
will be and what your fee will be. \If you require payment in advance, please
tell me how much of a deposit you wrll need to begin jrfork and I will send it.
      Thank you in advance for your he




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                                                                                             U.S. DISTRICT COURT E.D.N.Y.
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                                                                                            * JUN 0 1 2021 *
                                                         FOR THE

        PRO SE OFFIC^aLtfpm DISTRICT OF NEW YORK                                             BROOKLYN OFFICE

   Douglas C. Palmer                                                                  Theodore Roosevelt Federal Courthouse
   Clerk of Court
                                                                                           Emanuet Cellar Federal Courthouse
                                                                                                           225 Cadman Plaza East
   Brenna Mahoney                                                                                             Brooklyn, NY 11201
                                                                                                                  (718)613-2270
   Chief Deputy

                                                                                         Alfonse D'Amato Federal Courthouse
   Carol McMahon                                                                                                100 Federal Plaza
   Chief Deputy                                                                                            Central Isllp, NY 11722
                                                                                                                  (631)712-6000

February 24, 2021

In Re: Edgar Veytia
Docket Number: 17crll5
To; Edgar Veytia

Dear Mr. Veytia,

We received your recent letter requesting copies of documents in the above captioned matter.

Please be advised that there was a court reporter present at the plea hearing you are requesting. I have forwarded your
letter to them letting them know that you are requesting them. Below is information to use to follow up.

The plea hearing in vourcase 17crI15 was held before Judge Amon 1/4/2019.
The name of the court reporter present was: Anthony Mancuso. As I mentioned, I forwarded him a copy of your letter
but you can follow up by writing to him care ofthis courthouse.

Please be advised that to my knowledge, the minutes from the proceeding have not been transcribed, so there will be a
fee to get a transcript. The court reporter will be able to til you how many pages the transcript will be.

Below is the entry on the docket sheet:

Minute Entry for proceedings held before Judge Carol Bagley AmontChange of Plea Hearing as to Edgar
Veytia held on 1/4/2019, Plea entered by Edgar Veytia(1) Guilty Count 1.(Sentencing set for 4/25/2019 11:00
AM in Courtroom lOD South before Judge Carol Bagley Amon.)PSI Report 3/29; Dft's sentencing letter 4/12;
Govt's response 4/19; AUSA Craig Heeren & Jason Ruia; Defense Counsel, Jeffery Lichtman and Jeffrey
Einhorn.(Court reporter: Anthony Mancuso)




                                                         Yours truly,
                                                         Douglas C. Palmer
                                                         Clerk of Court



                                                         By: C. Rocco
                                                         Case Processing Clerk
             Case 1:17-cr-00115-CBA Document 121 Filed 06/01/21 Page 3 of 3 PageID #: 776
Edgar Veytia, #60875-298                                      SAIWT LOUTS iMO   G30
CMU Marion
P.O. Box 1000                                                 24 MAY 2021 PM 7 L
Marion IL 62959




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                                  Clerk Of-The-Couii--"
                                  E,District Of New York
                                  225 Cadman PL2 E
                                  US District Court,Rm 1188
                                  Brooklyn, NY 11201-1818
                                  United States




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